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                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

               Plaintiff,

vs.                                                                           No. CR 10-1534 JB

EDWARD CHRISTY,

               Defendant.

                            MEMORANDUM OPINION AND ORDER

       THIS MATTER comes before the Court on the Defendant’s Motion to Clarify Order

Allowing Mr. Christy to Withdraw his Plea to Child Pornography Charge, filed June 15, 2017

(Doc. 308)(“Motion to Clarify”). The Court held a hearing on August 31, 2017. The primary

issues are: (i) whether Defendant Edward Christy’s Motion to Clarify is ripe; and (ii) whether, if

Christy withdraws his guilty plea for a child pornography charge, the Plea Agreement’s waiver

of Christy’s rights under rule 410 of the Federal Rules of Evidence (“rule 410 waiver”) binds

Christy. The Court grants the Motion to Clarify and concludes that: (i) Christy’s Motion to

Clarify is ripe, because whether the rule 410 waiver is enforceable if Christy withdraws his guilty

plea is important information that Christy needs to make a meaningful decision; and (ii) the rule

410 waiver will bind Christy if he withdraws his guilty plea and the United States prosecutes the

Plea Agreement’s lone child pornography charge.

                               PROCEDURAL BACKGROUND

       In May 2010, a federal grand jury returned an Indictment, see Indictment, filed May 26,

2010 (Doc. 2), charging Christy with one count of transportation with intent to engage in

criminal sexual activity, under 18 U.S.C. § 2423(a), and three counts of possession of matter
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containing visual depictions of minors engaged in sexually explicit conduct, under

18 U.S.C. §§ 2252(a)(4)(B), 2252(b)(2), and 2256. See Indictment at 1-3. These charges related

to Christy’s actions with a sixteen-year-old girl, which the Honorable Lourdes A. Martinez,

United States Magistrate Judge describes in the Proposed Findings and Recommended

Disposition, filed May 5, 2016 (Doc. 265)(“PFRD”). On September 30, 2011, Plaintiff United

States of America filed an Information charging Christy with one count of Coercion and

Enticement, under 18 U.S.C. § 2422(a), and one count of Child Pornography, under

18 U.S.C. §§ 2252(a)(4)(B), 2252(b)(2), and 2256. See Information at 1, filed September 30,

2011 (Doc. 193).

       Christy entered into a plea agreement with the United States as to both of the charges in

the Information. See Plea Agreement at 2, filed September 30, 2011 (Doc. 195). In the Plea

Agreement, Christy asserts:

       I . . . knowingly possessed a matter containing any visual depiction that had been
       shipped and transported in interstate and foreign commerce and which was
       produced using materials which had been so shipped and transported, by any
       means, including by computer, the production of which involved the use of a
       minor engaging in sexually explicit conduct and is of such conduct. I possessed
       depictions of minors engaged in sexually explicit conduct on my Hewlett Packard
       HDX 16 16 Laptop, Serial Number CNF9241L65, with an internal Toshiba Hard
       Drive MK3255GSX, Serial Number 6981F9ZNS. I knew it was illegal for me to
       possess such images.

Plea Agreement ¶ 12, at 10. In the Plea Agreement, the United States and Christy stipulated to a

sentence of 108 months imprisonment, see Plea Agreement ¶ 9(a), at 5, and Christy waived his

right to appeal or collaterally attack his conviction or sentence for any reason other than

ineffective assistance of counsel in negotiating or entering the plea agreement or its waiver

provision, but he retained his right to appeal the Court’s denial of his motion to suppress, see

Plea Agreement ¶ 22, at 14-15. Christy also agreed:



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       Except under circumstances where the Court, acting on its own, fails to accept
       this plea agreement, the Defendant agrees that, upon the Defendant’s signing of
       this plea agreement, the facts that the Defendant has admitted under this plea
       agreement as set forth above . . . shall be admissible against the Defendant under
       Federal Rule of Evidence 801(d)(2)(A) in any subsequent proceeding, including a
       criminal trial, and the Defendant expressly waives the Defendant’s rights under
       the Federal Rule of Criminal Procedure 11(f) and Federal Rule of Evidence 410
       with regard to the facts the Defendant admits in conjunction with this plea
       agreement.

Plea Agreement ¶ 12(b), at 11 (emphasis added)(“410 waiver”). On May 23, 2012, the Court

accepted the parties’ proposed stipulated sentence, imposed two concurrent prison terms of 108

months each, and imposed concurrent lifetime supervised release terms for each count. See

Judgment at 2, filed August 17, 2012 (Doc. 226). At the sentencing hearing, and pursuant to the

Plea Agreement, the United States requested and obtained an order of dismissal of the Indictment

against Christy. See Order of Dismissal at 1, filed May 23, 2012 (Doc. 214).

       In October, 2015, Christy made the Motion Under 18 U.S.C. § 2255 to Vacate, Set Aside,

or Correct Sentence by a Person in Federal Custody, filed October 1, 2015 (Doc. 250)(“2255

Motion”). In his 2255 Motion, Christy raised the following arguments: (i) he is actually innocent

of violating 18 U.S.C. § 2242(a); (ii) his convictions must be vacated because of violations of the

Speedy Trial Act, 18 U.S.C. §§ 3161-3174; (iii) prosecutorial misconduct infects his conviction;

(iv) he was denied his right to reasonable bail under the Eighth Amendment of the Constitution

of the United States of America; (v) his guilty plea was not knowing and voluntary; (vi) his

guilty plea is void ab initio; (vii) his equal protection rights were violated; and (viii) the state and

federal statutes under which he was prosecuted are void for vagueness. See First Motion at 2-3.

In considering the Coercion and Enticement charge, Magistrate Judge Martinez noted that

§ 2422(a) requires the United States to prove two elements: (i) that Christy knowingly

persuaded, induced, or enticed a Minor to travel in interstate commerce; (ii) to engage in any



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sexual activity for which any person can be charged with a criminal offense. See PFRD at 7.

Magistrate Judge Martinez noted that the facts which establish the first element, enticing

interstate travel, are uncontested, and that, as support for the second element, criminal sexual

activity, the United States alleged that Christy could be charged with Criminal Sexual

Penetration in the Second Degree (“CSP II”) pursuant to N.M. Stat. Ann. § 30-9-11(E)(5)

(2009). PFRD at 7. That charge required proof that Christy engaged in “criminal sexual

penetration perpetrated . . . in the commission of any other felony,” and the “other felon[ies]”

charged by the United States were Contributing to the Delinquency of a Minor, under N.M. Stat.

Ann. § 30-6-3, and Unlawful Custodial Interference, under N.M. Stat. Ann. § 30-4-4(C). See

PFRD at 7.

       The United States explains that, at the time Christy and the United States were

negotiating and executing the plea agreement, “under the [United States’] theory of prosecution,

the fact that [the minor] legally and factually consented to have sex with the Defendant did not

matter because the sex was perpetrated in the commission of other felony offenses, thereby

establishing that [Christy] could have been charged with CSP II.” United States’ Response to

Defendant’s Motion to Vacate, Set Aside, or Correct Sentence Pursuant to 28 U.S.C. § 2255 at 7,

filed December 5, 2015 (Doc. 9)(“Response”). In April, 2014, however, the Supreme Court of

New Mexico issued State v. Stevens, 2014-NMSC-011, 323 P.3d 901, and disapproved of earlier

state cases that had supported this interpretation of the CSP II statute and “clarif[ied] that simply

causing another person to engage in otherwise lawful sexual intercourse at the time a felony is

being committed does not constitute the crime of criminal sexual penetration during the

commission for a felony.” State v. Stevens, 2014-NMSC-011, ¶ 2, 323 P.3d at 904.

       In the PFRD, Magistrate Judge Martinez explained that, while at the time of Christy’s



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underlying criminal case, “a fair interpretation of New Mexico’s CSP II statute . . . was that

engaging in consensual sex with a sixteen-year-old could be the basis for a CSP II charge in New

Mexico,” PFRD at 10, after the State v. Stevens decision, it became clear that Christy “could not

have committed ‘criminal sexual penetration,’ which is an element of CSP II, because the facts

underlying the charge against him were that he engaged in consensual sex with someone who

could legally consent when the sexual activity occurred,” PFRD at 11.           Magistrate Judge

Martinez noted that the United States concedes that the holding in State v. Stevens likely applies

retroactively to Christy’s plea and conviction, and that, pursuant to State v. Stevens, the factual

basis for Christy’s guilty plea to Coercion and Enticement no longer establishes that he could

have been charged with CSP II. See PFRD at 11-12. Magistrate Judge Martinez, therefore,

recommended that the Court grant Christy’s § 2255 Motion as to his conviction for Coercion and

Enticement, and that the Court vacate his conviction and sentence for this charge. See PFRD

at 12, 25. As for Christy’s claims regarding his Child Pornography conviction, Magistrate Judge

Martinez concluded that the waiver to collateral attack in the plea agreement is enforceable, and

therefore recommended that the Court reject Christy’s arguments challenging his conviction for

Child Pornography.1 See PFRD at 15.



       1
        Magistrate Judge Martinez determined Christy could collaterally attack his Coercion and
Enticement conviction despite waiving the right to collaterally attack his conviction on any
ground other than: (i) his counsel’s ineffective assistance in negotiating the plea; and (ii) his
retained right to appeal the denial of his motion to suppress. See PFRD at 12 n.11. Magistrate
Judge Martinez explained that the United States “concedes that ‘principals [sic] of equity dictate
that [Movant’s] challenge to [the Coercion and Enticement] conviction is not barred by the
appeal waiver.’” PFRD at 12 n.11 (quoting Response at 4)(alterations in PFRD). Magistrate
Judge Martinez concluded that “equity dictates that Movant be allowed to challenge his Coercion
and Enticement conviction in this proceeding, despite the terms of the waiver.” PFRD at 12
n.11. Moreover, the United States did not file any objections. Although the Court might not
have arrived at the same conclusion on a clean slate, because neither the United States nor
Christy object to the PFRD’s position, the Court determined that Magistrate Judge Martinez’
findings and recommended disposition in the PFRD are not clearly erroneous, arbitrary,

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       Having recommended that the Court vacate Christy’s Coercion and Enticement

conviction, Magistrate Judge Martinez next considered what impact vacating this conviction

would have on Christy’s conviction for Child Pornography. See PFRD at 16. Magistrate Judge

Martinez concluded that this case’s facts do not squarely fit with other cases’ holdings, which

require that the Court vacate the entire plea agreement, and that the Court return the parties to

their statuses before entering into the pleas. See PFRD at 16. Magistrate Judge Martinez

concluded that, here, however, Christy’s sentences are not consecutive, and the charges of

Coercion and Enticement and Child Pornography are not interdependent. See PFRD at 21.

Magistrate Judge Martinez therefore concluded that the Plea Agreement has not been rendered

invalid based on vacatur of the Coercion and Enticement charge. See PFRD at 21.

       Magistrate Judge Martinez recommended that, pursuant to United States v. Benard, 680

F.3d 1206 (10th Cir. 2012)(“Benard”)’s holding, the Court give Christy the option to withdraw

his plea to the Child Pornography charge.        See PFRD at 21.      Magistrate Judge Martinez

recommended that, if Christy elects to stand by the Plea Agreement, and to not withdraw his plea

and conviction as to the Child Pornography charge, the Court give Christy the opportunity to ask

the Court for a recalculation of his sentence with regard to that one charge. See PFRD at 22.

Last, Magistrate Judge Martinez recommended that, if Christy elects to withdraw his plea to the

Child Pornography charge, the Court should allow the United States to decide whether to pursue

only the Child Pornography charge that was part of the plea agreement or to reinstate the Child

Pornography charges in the Indictment under the frustration-of-purpose doctrine. See PFRD at

24.

       After a de novo review of Magistrate Judge Martinez’ PFRD, the Court overruled



obviously contrary to law, or an abuse of discretion, and did not disturb her conclusion.

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Christy’s Objections and adopted the PFRD. See Memorandum Opinion and Order Adopting

Magistrate Judge’s Proposed Findings and Recommended Disposition at 1-2, filed June 30, 2016

(Doc. 269)(“2255 MOO”). Pursuant to the Magistrate Judge’s recommendation, the Court gave

Christy a choice:

       [T]he Petitioner/Defendant shall file in the underlying criminal case a notification
       stating only one of the following options: (a) “I hereby elect to stand by the Plea
       Agreement as to the plea and conviction for Child Pornography, with the
       understanding that I may ask the Court for a recalculation of my sentence with
       regard to that charge.”; or (b) “I hereby elect to withdraw my plea to the Child
       Pornography charge, with the understanding that by doing so, the Government
       may reinstate the charges in the Indictment regarding the Child Pornography
       charges.”

2255 MOO at 19-20.

       1.      The Appeal.

       On the same day that the Court entered its 2255 MOO, it also entered a Final Judgment,

filed June 30, 2016 (Doc. 270), and an Order Denying Certificate of Appealability, filed June 30,

2016 (Doc. 271)(concluding that Christy had “failed to make a substantial showing of a denial of

constitutional rights”).   Christy then requested that the Court reconsider its Certificate of

Appealability denial, arguing that he was denied due process, “because he was misinformed by

the Court as to the elements of . . . the predicate felony underlying his conviction,” and, although

the conviction was dismissed, “the entire plea agreement was tainted.” Motion to Reconsider

Denial of Certificate of Appealability at 1, filed July 15, 2017 (Doc. 272). In response, the

United States contended that Christy was attempting to raise the same arguments which he raised

in his 2255 Motion, and that Christy had not met the legal standard for reconsideration. See

United States’ Response to Defendant’s Motion to Reconsider Denial of Certificate of

Appealability at 1-2, filed July 20, 2016 (Doc. 274). In reply, Christy contended that it was clear

error for the Court to conclude that he had adequate notice of the charges to which he pled guilty,


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so his plea is constitutionally invalid. See Reply to United States’ Response to Motion to

Reconsider Denial of Certificate of Appealability at 1-2, filed August 8, 2016 (Doc. 285). The

Court dismissed Christy’s Motion to Reconsider Denial of Certificate of Appealability,

concluding that Christy’s arguments are “inextricably tied to the merits of the disposition of his

prior habeas petition, and, therefore constitutes a second or successive petition.”           Order

Dismissing Motion to Reconsider Denial of Certificate of Appealability at 3, filed August 24,

2016 (Doc. 289). Consequently, the Court transferred Christy’s request to the Tenth Circuit.

See Order Dismissing Motion to Reconsider Denial of Certificate of Appealability at 3 (citing

Spitznas v. Boone, 464 F.3d 1213, 1217 (10th Cir. 2006)(holding that, if “the district court

concludes that the motion is actually a second or successive petition, it should refer the matter to

[the Tenth Circuit] for authorization under § 2244(b)(3)”)). The Tenth Circuit denied Christy’s

request for a certificate of appealability, concluding, among other things, that: (i) because the

Court gave Christy the option of withdrawing from the plea agreement, his argument that his

plea was not knowing and voluntary is moot; and (ii) Christy “has provided no viable basis for

relief [and] reasonable jurists would not find the district court’s denial of his claims debatable or

wrong.” Order Denying Certificate of Appealability at 4-5 (dated March 31, 2017), filed March

31, 2017 (Doc. 301-1).

       2.      The Motion to Clarify.

       Christy submitted his Motion on June 15, 2017. See Motion at 7. Christy asks the Court

to clarify its 2255 MOO, “so that he can make an informed decision” whether to withdraw his

plea. Motion at 1. Christy begins by arguing that, according to Magistrate Judge Martinez’

PFRD, the parties’ mutual mistake on a charge’s elements voids the entire plea agreement,

including the rule 410 waiver. See Motion at 4 (citing PFRD at 21; United States v. Lewis, 138

F.3d 840 (10th Cir. 1998)). Under United States v. Bunner, 134 F.3d 1000 (10th Cir. 1998)

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(“Bunner”), Christy asserts, when a defendant’s prior conviction serves as the basis for a plea

deal, and changes to the law later voids that conviction, the defendant has the option to not abide

by the plea agreement’s obligations; if the defendant takes that option, the prosecutors are

released from their plea agreement’s obligations. See Motion at 5 (citing Bunner 134 F.3d at

1005). Christy insists the same reasoning applies in this case. See Motion at 5. Here, according

to Christy, the Supreme Court of New Mexico’s clarification in State v. Stevens,

2014-NMSC-011, 323 P.3d 901, “rendered the government’s performance of the plea agreement

virtually worthless” to Christy, and, so, Christy argues, should he choose to withdraw his plea to

the child pornography charge, the United States would also be relieved of its obligations under

the plea agreement, “and the parties would be returned to the status quo ante.” Motion at 6.

Christy recognizes that Bunner’s facts are not identical to the facts here -- in Bunner, the

defendant’s “sole conviction” was deemed factually impossible, whereas here, “only one of Mr.

Christy’s two convictions was deemed factually impossible.” Motion at 6. Christy argues that

the distinction is immaterial here, because in both cases, the defendant is faced with the choice to

void his or her obligations under the plea agreement, which would, in turn, release the

prosecutors from their obligations. See Motion at 6 (“[T]he Court . . . is simply allowing Mr.

Christy to decide whether he truly wants that outcome” -- i.e., returning to the status

quo ante -- “given that . . . the government will then have the right to reinstate the child

pornography charges.”).

       3.      The Response to the Motion.

       The United States opposes the Motion. See Response at 1. The United States first argues

that the challenged 2255 Order is clear, and that, by “attempt[ing] to inject uncertainty” into the

2255 Order and the Magistrate Judge’s PFRD, Christy is asking the Court “to issue a ruling that

directly conflicts” with the 2255 Order. Response at 5. The United States argues that, because

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the PFRD enforced the plea agreement’s collateral attack waiver, the rule 410 waiver must

likewise be enforceable. See Response at 6. “Accordingly, it is the law of the case that

Defendant’s plea agreement is knowing and voluntary and remains valid, and that the waivers

contained in it are enforceable.” Response at 6. According to the United States, in effect,

Christy is trying to get another “bite at the apple by asking the Court, under the guise of . . .

seeking clarification, to invalidate the plea agreement by law, rather than [by] Defendant’s

choice.” Response at 6. The United States also argues that the PFRD and the 2255 order

implicitly and expressly distinguish this case from the Tenth Circuit cases that Christy

references, noting, e.g., that the PFRD states that United States v. Lewis and other cases where

the court vacated “entire plea agreements . . . and the parties returned to their statuses prior to

entering into the pleas, do not squarely fit with the facts of this case.” Response at 6.

       Second, the United State argues that whether the 410 waiver is valid is not yet ripe for the

Court’s consideration, because Christy has yet to withdraw from the plea agreement. See

Response at 7.     Consequently, Christy “invites this Court to issue an advisory opinion.”

Response at 7.

       Third, the United States asserts that, should the Court “choose to state a likely ruling on

the enforceability of the rule 410 waiver to facilitate Defendant’s decision,” the Court should

conclude that the waiver is enforceable, even if Christy withdraws from the plea agreement,

because Christy entered the plea agreement knowingly and voluntarily. Response at 7. Not

enforcing a plea agreement’s rule 410 waiver after the defendant backs out of the plea agreement

goes against the rule 410 waiver’s entire purpose in the first place, the United States argues,

because “the only time the United States would ever need to enforce a Rule 410 waiver is after a

defendant has withdrawn from a plea agreement containing such a waiver.” Response at 9



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(citing United States v. Jim, 786 F.3d 802, 802 (10th Cir. 2015)). The United States adds that

the plea agreement’s terms hold that the Court may not enforce a rule 410 waiver if the Court is

the one invaliding the plea agreement, and not if the defendant withdraws. See Response at 9.

       4.      The Reply to the United States’ Response.

       Christy responded with his Reply to United States’ Response in Opposition to

Defendant’s Motion to Clarify 2255 Order, filed July 11, 2017 (Doc. 310)(“Reply”). First,

Christy asserts that the question whether the rule 410 waiver is enforceable is ripe, because

“resolution of this issue impacts the choice Mr. Christy will make” on whether to withdraw from

the plea agreement, and neither the PFRD nor the 2255 Order resolves the question. Reply at 1-2.

       Second, Christy denies he is trying to “get another bite at the proverbial apple.” Reply at

2. Rather, Christy asserts that he “is simply urging the Court to rule explicitly what it already

has ruled implicitly, i.e., that the entire plea agreement will be voided under the frustration of

purpose doctrine should Mr. Christy elect to withdraw his plea to the child pornography charge.”

Reply at 2. Moreover, Christy argues that the United States “affirmatively argued in the § 2255

proceeding that the Court should vacate the entire plea agreement on grounds of ‘mutual

mistake’ and the ‘sentencing package’ theory if it were inclined to do anything other than simply

resentence Mr. Christy on the child pornography conviction.” (quoting United States’ Response

to Defendant’s Motion to Vacate, Set Aside, or Correct Sentence Pursuant to 28 U.S.C. § 2255,

filed December 5, 2015 (Doc. 256)). In other words, Christy asserts that the United States

attempts to “have its cake and eat it too” by arguing, in the § 2255 proceeding, that if the Court

allows Christy to withdraw his plea to the child pornography charge on grounds of mutual

mistake, the Court should also allow the United States to revive the charge, and arguing now

that, should Christy withdraw from the plea, the United States is relieved of all obligations under

that agreement, but Christy remains bound by the rule 410 waiver. Reply at 3. Christy adds, in a

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footnote, that “[e]ven today, the government understands that the Magistrate Judge

‘recommended that Defendant be given the option to withdraw from his plea and the plea

agreement with respect to his child pornography charge.’” Reply at 3 n.1 (emphasis added by

Christy)(quoting Response at 4).

          Christy then argues that the Court, in its 2255 Order, “implicitly recognized” that “the

only reason the government is allowed to reinstate the dismissed child pornography charges in

this case is because, upon withdrawal of his plea, Mr. Christy will be ‘relieved of his obligations

under the plea agreement,’” Reply at 4 (quoting 2255 Order at 16), and that, if the United States

reinstates the charges, the parties will be returned to “the positions they occupied before the

defendant entered his guilty plea,” Reply at 4 (citing 2255 Order at 16). Christy also quotes the

Court as stating, “[u]pon restoration of the status quo ante, the plea agreement no longer [binds]

the parties.” Reply at 4 (quoting 2255 Order at 16)(emphasis and alterations added by Christy).

Additionally, Christy notes, the Magistrate Judge wrote, in the PFRD, that Benard “‘appears

most applicable to the facts of the case,’” and that its holding supports giving Christy the option

to withdraw his plea. Reply at 4 n.2 (quoting PFRD at 21). Christy asserts that, in Benard, the

Tenth Circuit held that, when a suppression motion affects one of two crimes to which a

defendant pled guilty, the defendant should have the option to withdraw the plea, and “the parties

will be restored to the status quo ante except as to the improperly admitted evidence.” Reply

4-5 n.5 (quoting Benard, 680 F.3d at 1215)(emphasis added by Christy).

          Next, Christy argues that United States v. Jim is inapposite. See Reply at 5. Christy

writes:

          Jim . . . does not stand for the overly-broad proposition that a Rule 410 waiver
          will be invalidated only when it is later determined that the defendant
          unknowingly and involuntarily entered into the agreement. Jim did not present
          the situation, like here, where the defendant entered into a plea agreement


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       involving multiple counts only to find out later that one of the convictions was
       invalid as a matter of law. Jim did not present the situation, like here, where both
       parties were mutually mistaken when they entered into the agreement. And, Jim
       did not present the situation, like here, where the benefits both parties were to
       receive from the contract have been frustrated.

Reply at 6.

       Finally, Christy argues that the Court “never warned” him that the rule 410 waiver would

be enforceable “even if it turned out that one of his convictions contemplated by the plea

agreement was invalid, that the package deal he thought he was getting was illusory, and that the

government would be entitled to reinstate the charges that it dismissed pursuant to the defective

agreement.” Reply at 6.

       5.      The Hearing.

       The Court held a hearing on the motion on August 31, 2017. See Transcript of Hearing

(taken August 31, 2017)(“Tr.”).2 The Court began by stating that it is “inclined to think that the

Government’s position is the correct one, that Mr. Christy is stuck with this waiver.” Tr. at 2:2-6

(Court). Regarding United States v. Jim, the Court acknowledged that are differences between

that case and the one presently before it, but “I’m inclined to construe it the same way.” Tr. at

2:15-18 (Court). The Court then invited Christy to make his case. See Tr. at 3:7-9 (Court).

       Christy began by “reiterat[ing] that Mr. Christy maintains his argument that the plea

agreement that the plea agreement as a whole was not knowing and voluntary because of the

charge to the enticement.” Tr. at 3:14-25 (Coberly). Christy also wished to clarify that “we are

not seeking to have this plea agreement invalidated as a matter of law,” but, rather, “seeking

clarification [on] what I believed was implicit within the court’s order granting the 2255

motion.” Tr. at 4:1-8 (Coberly). Christy then recalled how the United States, in the 2255


       2
        The Court’s citations to the hearing’s transcript refer to the court reporter’s original,
unedited version. Any final version may contain slightly different page and/or line numbers.

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Motion proceedings, argued that, if the Court would not allow the child pornography conviction

to stand, then the United States should be free to revive those charges, because, pursuant to

United States v. Lewis, the remedy for a plea agreement based on mutual mistake is to invalidate

the entire plea agreement. See Tr. at 4:9-5:19 (Coberly). Christy also distinguished this case

with the facts in United States v Jim, noting that, in that case, withdrawing from the plea

agreement “was something that Jim decided to do on his own,” whereas here, Christy has the

option to withdraw, because all agree that one of the two crimes to which he pled guilty was not,

in fact, a crime. Tr. at 6:5-6:8 (Coberly). Christy also asserted that plea agreements are

“interpreted according to general principles of contract law” as well as by “considerations of

fairness and the integrity of the judicial system.” Tr. at 6:10-19 (Coberly). Christy also argued

that the Court’s 2255 Order states that the Court believes that Bunner would apply here -- i.e., if

Christy withdraws from the plea agreement, then Christy is relieved of his obligations under the

agreement, “then the underlying purpose of the agreement is frustrated, and then the Government

can choose either to perform under the plea agreement or seek discharges of its duties.” Tr. at

8:5-20 (Coberly)(referring to 2255 Order at 16).

       The United States then addressed Christy’s statement of preserving its position that the

plea agreement was not knowing and voluntary, and stating: “I do want to note in terms of

preservation that he already attempted to take that to the Tenth Circuit and that the Tenth Circuit

already declined to disturb that ruling.” Tr. at 9:20-10:2 (Kastrin).

       Next, the United States argued that Christy has created this “alleged lack of clarity” by

conflating § 2255 issues with the enforceability of a rule 410 waiver in a plea agreement that

“the defendant is choosing to withdraw from.” Tr. at 10:10-20 (Kastrin). The United States

argued: “[O]nce you split those two issues from each, I think it becomes clear that defendant’s



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motion fails . . . for a number of reasons.” Tr. at 10:21-23 (Kastrin). The United States asserted

that the first issue is that a motion to clarify an order is inappropriate when an order, such as the

Court’s 2255 Order, is sufficiently clear. See Tr. at 10-24-11:5 (Kastrin). The United States

asserted that just because the Court’s 2255 Order and Magistrate Judge Lourdes A. Martinez’

PFRD did not address the rule 410 waiver issue does not make the 2255 Order unclear, because

the Court did not need to consider the 410 waiver issue in making its ruling. See Tr. at 11:9-20

(Kastrin).

       The Court then interjected, asking if Christy’s argument would work as a motion in

limine, and the United States agreed, and stated that the Court was touching on another reason

why Christy’s motion should fail: Christy’s question is not ripe, and so he is “essentially just

asking for a pretrial ruling on the admissibility of certain pieces of evidence.” Tr. at 11:22-12:7

(Court, Kastrin). The United States observed that a pretrial ruling “is only ripe if there is going

to be a trial, and we’re not there yet”; consequently, the United States asserted, Christy attempts

to get a pretrial ruling so he can “decide whether or not there should be a trial at all.” Tr. at

12:5-9 (Kastrin). “I think every defendant would want to know what every ruling would be in

deciding to take a plea offer,” the United States argued, “but that’s not how our system works.”

Tr. at 12:9-12 (Kastrin). The United States concluded that, because the issue is not ripe, Christy

is asking the Court to issue an advisory opinion -- although the United States acknowledges that

the Court may nonetheless want to provide an inclination of how it would rule, if the issue were

ripe. See Tr. at 13-1-5 (Kastrin). The Court then asked: “[I]sn’t there a body of law that requires

district courts to give motions in limine; for example, we can’t wait until the middle of the trial.”

Tr. at 13:9-12 (Court).     The United States answered that such motions are “premised on

something being at the procedural stage of post-indictment and pretrial, and that’s just not where



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we are; we would only be in that stage after Mr. Christy withdraws from his plea agreement and

after the indictment has been reinstated.” Tr. at 13:13-19 (Kastrin).

       The United States also said that United States v. Jim controls the case here, and it “stands

for the proposition that where a defendant knowingly and voluntarily enters into a plea, and then

is given the ability to choose to withdraw from it, that the United States may still enforce the

Rule 410 waiver contained in the plea agreement that he’s being permitted to withdraw from.”

Tr. at 15:20-16:6 (Kastrin). What Christy is really trying to do, the United States argued, is to

get the Court to conclude “that somehow his plea to possession of child pornography was not

knowing and voluntary, and, for that reason, it is not fair to bind him to the use of the 410

waiver.” Tr. at 16:22-3 (Kastrin). Such a conclusion would be “in conflict with another one of

the Court’s ruling, a ruling which has gone up to the Tenth Circuit and which the Tenth Circuit

declined to disturb.” Tr. at 17:5-7 (Kastrin).

       The United States also asserts that Christy’s argument

       begs the question -- why does the appeal waiver contained in the plea agreement
       remain enforceable, but the rule 410 waiver cannot? We don’t think you can
       come up with a legally logical basis to come to a different conclusion, so we
       believe both are enforceable based on the key reasoning behind the holding in
       Jim.

Tr. at 17:8-15 (Kastrin). Finally, the United States argued that Bunner, Benard, and United

States v. Lewis are inapposite, because “[n]one of them had to do with the enforceability of a

rule 410 waiver or any waiver in the plea agreement at all.” Tr. at 17:21-18:3 (Kastrin).

       Christy returned to the podium, briefly stating that the Tenth Circuit dismissed Christy’s

appeal as moot, but “never ruled on the knowing and voluntary issue.”             Tr. at 19:10-15

(Coberly). Christy then argued that, “looking at the principles of contract, . . . the only reason

Mr. Christy made that admission under oath was because of a benefit that he was supposed to



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receive from the plea agreement, and that benefit ended up being completely illusory; there was

no benefit.” Tr. at 19:18-23 (Coberly).

       The Court then concluded by stating that it will work on an opinion to “make sure that

I’m correct both on the ripeness issue and on the substantive answer, but I’m still inclined to

think the Government has the better argument here given the factual patterns that are most

similar to [the case] here.” Tr. at 21:20-25 (Court).

                                LAW REGARDING RIPENESS

       “In order for a claim to be justiciable under Article III, it must be shown to be a ripe

controversy.” New Mexicans for Bill Richardson v. Gonzales, 64 F.3d 1495, 1499 (10th Cir.

1995). Ripeness pertains to the timing of a case and is intended “to prevent the courts, through

avoidance of premature adjudication, from entangling themselves in abstract disagreements.”

New Mexicans for Bill Richardson v. Gonzales, 64 F.3d at 1499 (citation omitted)(internal

quotation marks omitted). Ripeness is a component of the Article III requirement that limits

judicial review to “cases or controversies.” U.S. Const. art. III, § 2. See U.S. West, Inc. v.

Tristani, 182 F.3d 1202, 1208 (10th Cir. 1999). A controversy must be “definite and concrete,

touching the legal relations of parties having adverse legal interests,” and “a real and substantial

controversy admitting of specific relief through a decree of a conclusive character.” Aetna Life

Ins. Co. v. Haworth, 300 U.S. 227, 240-41 (1937). “[T]he question in each case is whether the

facts alleged, under all circumstances, show that there is a substantial controversy, between

parties having adverse legal interests, of sufficient immediacy and reality to warrant the issuance

of a declaratory judgment.”       MedImmune, Inc. v. Genentech, Inc., 549 U.S. 118, 127

(2007)(citation omitted).

       The Tenth Circuit has stated: “Generally, we apply a two-factor test to determine whether



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an issue is ripe. We evaluate ‘the fitness of the issue for judicial resolution and the hardship to

the parties of withholding judicial consideration.’” Kansas Judicial Review v. Stout, 519 F.3d

1107, 1116 (10th Cir. 2008)(quoting Sierra Club v. Yeutter, 911 F.2d 1405, 1415 (10th

Cir.1990)), certified question answered, 196 P.3d 1162 (2008), opinion after certified question

answered, 562 F.3d 1240 (10th Cir. 2009).

       In MedImmune, Inc. v. Genentech, Inc., a patent licensee, who continued to pay royalties

for use of the patent, brought a declaratory-judgment action against the patent holder to

determine whether the patent was invalid or unenforceable. See 549 U.S. at 121-25. What

appeared to be missing in the case was the requisite immediacy -- there was little likelihood that

the patent holder would ever bring suit against the licensee, because the licensee was continuing

to pay royalties. See 549 U.S. at 121-25. Nevertheless, the Supreme Court held that there was

an actual case or controversy, because the looming threat of the licensee having to pay treble

damages, if it halted payments and the patent was ultimately upheld, “coerced” the licensee’s

payment of royalties. 549 U.S. at 129. Avoidance of such dilemmas “was the very purpose of

the Declaratory Judgment Act,” 28 U.S.C. § 2201. MedImmune, Inc. v. Genentech, Inc., 549

U.S. at 129. Two cases concerning foreign policy illustrate the need for the facts to mature

before declaratory-judgment jurisdiction arises. In Rabinowitz v. Kennedy, 376 U.S. 605 (1964),

the Supreme Court held that the petitioner attorneys were not exempt from registration under the

Foreign Agents Registration Act, 22 U.S.C. § 611, but it refused to consider whether the

questions asked on the registration forms were proper. See 376 U.S. at 610. See also 22 U.S.C.

§ 611. Noting that the forms advised registrants that federal regulations allowed them to apply

for waivers of inappropriate or unduly burdensome requirements, it said: “Since petitioners have

made no attempt to determine which questions must be answered and how much information



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disclosed, this issue is not ripe for adjudication.” Rabinowitz v. Kennedy, 376 U.S. at 610. In

Zemel v. Rusk, 381 U.S. 1 (1965), the Supreme Court refused to consider Zemel’s claim that he

was constitutionally entitled to travel to Cuba. See 381 U.S. at 3. The Supreme Court explained

that it would need to know the specifics of the travel:

       The complaint filed in this case does not specify the sort of travel to Cuba
       appellant has in mind -- e.g., whether he plans to proceed to Cuba directly or
       travel there via one or more other countries. Nor can we tell from the papers filed
       whether the Government will, in the event appellant journeys to Cuba, charge him
       under § 215(b) with leaving the United States on a carrier bound for Cuba with a
       passport not validated for Cuba; leaving the United States with such a passport
       with the intent of traveling to Cuba before he returns home; leaving the United
       States with such a passport on a journey which in fact takes him to Cuba;
       re-entering the United States with such a passport after having visited Cuba; some
       other act -- or whether it will charge him at all. Whether each or any of these
       gradations of fact or charge would make a difference as to criminal liability is an
       issue on which the District Court wisely took no position. Nor do we. For if we
       are to avoid rendering a series of advisory opinions, adjudication of the reach and
       constitutionality of § 215(b) must await a concrete fact situation.

381 U.S. at 19-20.

       In Eccles v. Peoples Bank, 333 U.S. 426 (1948), the Supreme Court held that a

declaratory-judgment action was not ripe. See 333 U.S. at 427. The bank sought to challenge a

condition imposed on its membership in the Federal Reserve System that restricted Transamerica

Corporation’s ownership of its stock. See 333 U.S. at 428-29. Transamerica Corporation had

acquired a few shares of stock, but only for investment, and not to obtain any control over the

bank, which was what the membership condition was meant to prevent. See 333 U.S. at 430-31.

The bank filed suit, because it feared that, if it lost its membership, its deposits would not be

insured. See 333 U.S. at 427. When the bank brought suit, however, the bank failed to show

“[t]he actuality of the plaintiff’s need for a declaration of his rights.” 333 U.S. at 432. The

Federal Reserve Board “disavow[ed] any action to terminate the Bank’s membership” under the

existing circumstances. 333 U.S. at 432. The Supreme Court described the suit:


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       [T]he Bank seeks a declaration of its rights if it should lose its independence
       [from Transamerica Corporation], or if the Board of Governors should reverse its
       policy and seek to invoke the condition even though the Bank remains
       independent and if then the Directors of the Federal Deposit Insurance
       Corporation should not change their policy not to grant deposit insurance to the
       Bank as a non-member of the Federal Reserve System.

333 U.S. at 432. In the Supreme Court’s view, “[t]he concurrence of these contingent events,

necessary for injury to be realized, is too speculative to warrant anticipatory judicial

determinations.” 333 U.S. at 432. It concluded: “[The] Bank’s grievance here is too remote and

insubstantial, too speculative in nature, to justify an injunction against the Board of Governors,

and therefore equally inappropriate for a declaration of rights.” 333 U.S. at 434. Addressing

these Supreme Court cases, the Tenth Circuit has held: “The Court made clear that generally one

cannot bring a declaratory judgment action just to resolve one isolated issue in a possible future

controversy.” Columbian Fin. Corp. v. BancInsure, Inc., 650 F.3d 1372, 1380 (10th Cir. 2011).

In Plant Oil Powered Diesel Fuel Systems, Inc. v. ExxonMobil Corp., 801 F. Supp. 2d 1163

(D.N.M. 2011)(Browning, J.), the Court held that certain claims that a proposed fit-for-purpose

guideline violated antitrust principles was not ripe, because the plaintiff had not shown a

hardship, and because the claims were based on “uncertain or contingent future events.” 801 F.

Supp. 2d at 1184. The Court determined that, “[b]ecause the Fit-for-Purpose Guidelines are both

in their early stages and because their development is on-going, creating uncertainty what form

they will ultimately take if and when they are submitted for approval, the Court concludes that

POP Diesel’s claims based on the Fit-for-Purpose Guidelines are premature.” Plant Oil Powered

Diesel Fuel Sys., Inc. v. ExxonMobil Corp, 801 F. Supp. 2d at 1185. In Carroll v. Los Alamos

National Security, LLC, 704 F. Supp. 2d 1200 (D.N.M. 2010)(Browning, J.), the Court

concluded that negligent misrepresentation claims were ripe for adjudication. See 704 F. Supp.

2d at 1219.   There, the defendant conceded that an employee gave the plaintiff incorrect


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information when the plaintiff was deciding on a pension plan. See 704 F. Supp. 2d at 1219.

The Court concluded that the plaintiff had a legally protected interest in being given correct

information regarding his pension-plan options and in making a fully informed selection.

See 704 F. Supp. 2d at 1220. The Court held that, because the plaintiff had a legally protected

interest in receiving accurate information and there was no dispute that he did not, he was

injured, and the matter was ripe for adjudication. See 704 F. Supp. 2d at 1220. With respect to

the cause of action’s accrual, the Court concluded that the claim had accrued, because the

plaintiff had suffered an injury, which gave rise to a claim, even though he had not yet suffered

damages. See 704 F. Supp. 2d at 1221. Ultimately, however, the Court granted the defendants’

motion for summary judgment on the negligent misrepresentation claims, because the plaintiff

had not established that the defendants caused him harm or that the defendants’ conduct would

harm him in the future. See 704 F. Supp. 2d at 1226.

                         LAW REGARDING RULE 410 WAIVERS

       Generally, evidence of a guilty plea or statements made in plea negotiations are

inadmissible. See Fed. R. Evid. 410. Accord United States v. Mitchell, 633 F.3d 997, 1002

(10th Cir. 2011)(“As a general matter, evidence of a guilty plea or statements made in plea

negotiations are inadmissible.”). Rule 410 provides:

       Pleas, Plea Discussions, and Related Statements

       (a) Prohibited Uses. In a civil or criminal case, evidence of the following is not
       admissible against the defendant who made the plea or participated in the plea
       discussions:

       (1) a guilty plea that was later withdrawn;

       (2) a nolo contendere plea;

       (3) a statement made during a proceeding on either of those pleas under Federal
       Rule of Criminal Procedure 11 or a comparable state procedure; or


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       (4) a statement made during plea discussions with an attorney for the prosecuting
       authority if the discussions did not result in a guilty plea or they resulted in a
       later-withdrawn guilty plea.

Fed. R. Evid. 410.

       The Supreme Court, in United States v. Mezzanatto, addressed a challenge to a waiver

that allowed the United States to use the defendant’s statements during plea negotiations to

impeach any contradictory testimony that could arise if the case proceeded to trial. See 513 U.S.

196, 198 (1995)(Thomas, J.). The Supreme Court held that, “absent some affirmative indication

that the agreement was entered into unknowingly or involuntarily, an agreement to waive the

exclusionary provisions of the plea-statement Rules is valid and enforceable.” 513 U.S. at 210.

The Supreme Court stated that while there “may be some evidentiary provisions that are so

fundamental to the reliability of the factfinding process that they may never be waived without

irreparably ‘discrediting the federal courts.’ . . . enforcement of agreements like respondent’s

plainly will not have that effect.” United States v. Mezzanatto, 513 U.S. at 204. Instead, the

Supreme Court noted that admitting the plea statements for impeachment purposes enhanced the

truth-seeking function of trials and would result in more accurate verdicts. See United States v.

Mezzanatto, 513 U.S. at 204 (“The admission of plea statements for impeachment purposes

enhances the truth-seeking function of trials and will result in more accurate verdicts.”). In so

holding, the Supreme Court rejected the following arguments that rule 410 should be

unwaivable: (i) that rule 410 must be enforced to guarantee a fair procedure; (ii) that waivability

would undermine the goal of voluntary settlement; and (iii) that waivability would invite

prosecutorial reaching and abuse. See United States v. Mezzanatto, 513 U.S. at 204-10. A three-

justice concurrence advocated that courts should narrowly construe the holding’s scope and

emphasized that the case dealt only with an impeachment waiver.             See United States v.


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Mezzanatto, 513 U.S. at 211 (Ginsburg, J., concurring).

          In United States v. Mitchell, however, the Tenth Circuit extended the Supreme Court’s

reasoning in United States v. Mezzanatto to case-in-chief waivers. See United States v. Mitchell,

633 F.3d at 998. There, the Tenth Circuit upheld the following provision, in which the defendant

agreed:

          [I]f I withdraw my plea of guilty, I shall assert no claim under the United States
          Constitution, any statute, Rule 410 of the Federal Rules of Evidence, Rule 11(f) of
          the Federal Rules of Criminal Procedure, or any other federal rule, that the
          defendant’s statements pursuant to this agreement, or any leads derived therefrom,
          should be suppressed or are inadmissible at any trial, hearing, or other proceeding.

United States v. Mitchell, 633 F.3d at 999. The Tenth Circuit commented: “We see no analytical

distinction between Rule 410’s application to impeachment waivers and case-in-chief waivers.

The same reasoning for the former compels the latter.” 633 F.3d at 1004. It further explained its

decision and stated: “Even if the district court determines a guilty plea should be withdrawn, a

waiver of Rule 410 only means a trial will contain more evidence -- both the evidence of the

original guilty plea and evidence the plea was withdrawn.” 633 F.3d at 1005 (emphasis added).

The Tenth Circuit noted that its conclusion was in line with the other circuits who have

considered expanding United States v. Mezzanatto’s rationale. See United States v. Mitchell,

633 F.3d at 1006 (citing United States v. Sylvester, 583 F.3d 285, 289 (5th Cir. 2009); United

States v. Young, 223 F.3d 905, 910-11 (8th Cir. 2000); United States v. Burch, 156 F.3d 1315,

1321 (D.C. Cir. 1998)). The Tenth Circuit also stated that United States v. Mezzanatto’s facts

supported its decision, because the defendant in that case received only an opportunity to discuss

cooperation with the United States, while the United States made promises to Mitchell in the plea

agreement. See United States v. Mitchell, 633 F.3d at 1006. Before reaching the rule 410

question, the Tenth Circuit determined that the defendant’s guilty plea was knowing and



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voluntary. See United States v. Mitchell, 633 F.3d at 1001. Although the district court noted

that the defendant’s counsel may have exerted undue influence, the Tenth Circuit concluded that

his counsel’s influence did not render the plea involuntary. See United States v. Mitchell, 633

F.3d at 1002.

       The Tenth Circuit’s analysis in United States v. Mitchell began with its determination

that the plea agreement was enforceable. See 633 F.3d at 1002. Although the Tenth Circuit

stated at the outset that it was considering whether the rule 410 waiver was knowing and

voluntary, it analyzed the plea as a whole instead. See United States v. Mitchell, 633 F.3d at

1002 (“Based on a careful review of the record, we agree with the district court that Mitchell’s

plea was knowing and voluntary.”). The United States Court of Appeals for the District of

Columbia Circuit similarly analyzed the validity of the rule 410 waiver in the context of the

validity of the plea as whole. See United States v. Burch, 156 F.3d at 1322. The D.C. Circuit

commented:

       Appellant’s specific contention that he involuntarily waived the protections of
       Rules 11(e)(6) and 410 derives from his broader claim that he did not enter into
       the plea agreement voluntarily. He makes no attempt to deconstruct the plea
       agreement into individual components, nor to claim that acceded to a particular
       provision involuntarily, independent of his intention with his respect to the entire
       plea. Therefore, we can only review whether his waiver was knowing and
       voluntary through examining, as the trial court did, the nature of the plea
       agreement that subsumes it.

United States v. Burch, 156 F.3d at 1322 n.5.

       In United States v. Jim, 839 F. Supp. 2d 1157 (D.N.M. 2012)(Browning, J.), aff’d, 786

F.3d 802 (10th Cir. 2015), the Court, after allowing the defendant to withdraw his guilty plea,

denied the defendant’s motion to exclude statements he made in the plea agreement and during

the plea colloquy, because the defendant waived his rights under rule 410 when he entered the

plea agreement. See 839 F. Supp. 2d at 1158. The plea agreement stated:


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       Except under certain circumstances where the Court, acting on its own, fails to
       accept this plea agreement, the Defendant agrees that, upon the Defendant’s
       signing of this plea agreement, the facts that the Defendant has admitted under
       this plea agreement as set forth above, as well as any facts to which the Defendant
       admits in open court at the Defendant’s plea hearing, shall be admissible against
       the Defendant under Federal Rule of Evidence 801(d)(2)(A) in any subsequent
       proceeding, including a criminal trial, and the Defendant expressly waives the
       Defendant’s rights under Federal Rule of Criminal Procedure 11(f) and Federal
       Rule of Evidence 410 with regard to the facts the Defendant admits in conjunction
       with this plea agreement.

839 F. Supp. 2d at 1172. The defendant argued that the waiver of his rights under rule 410 was

unconstitutional, but the Court disagreed, noting the similarity of the defendant’s waiver with the

waiver that the Tenth Circuit upheld in United States v. Mitchell. See 839 F. Supp. 2d at 1172.

The defendant then argued that, because his attorney at the time he pled guilty was missing half

of the photographs taken at the scene, he did not have all the evidence and pled guilty

involuntarily; although he raised the issue in terms of voluntariness, the Court explained that

voluntariness “ordinarily deals with claims that the plea was coerced,” which the defendant did

not allege. 839 F. Supp. 2d at 1178. The Court instead analyzed the defendant’s argument in

terms of whether he knowingly pled guilty; the Court noted that the defendant did not argue that

the lack of evidence affected his understanding of “‘what the plea connotes and of its

consequence,’ the understanding necessary to enter a knowing plea.” 839 F. Supp. 2d at 1179

(quoting Boykin v. Alabama, 395 U.S. 238, 244 (1969)). The Court reviewed its reasons for

previously allowing the defendant to withdraw his guilty plea, including a defect in the plea

colloquy in which the magistrate judge “never mentioned the word ‘trial,’” and the defendant

said he did not know he was waiving his right to proceed to trial; this defect cast doubts on

whether the defendant knowingly and voluntarily pled guilty, and led the Court to find a “fair

and just reason” to permit the defendant to withdraw his guilty plea. 839 F. Supp. 2d at 1180

(quoting United States v. Jim, No. CR 10-2653, 2011 WL 6013093, at *12 (D.N.M. Nov. 22,


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2011)(Browning, J.). The Court concluded, however, that “the evidence in favor of a knowing

and voluntary plea outweighs considerably the evidence of an unknowing plea, and is more

weighty and more credible. In other words, [the defendant] has not met his burden of presenting

an ‘affirmative indication’ that the plea was not knowing and voluntary.” 839 F. Supp. 2d at

1181. Further, the defendant did not raise these arguments in his motion to exclude statements

from the plea agreement and plea colloquy: “In the absence of argument on this issue and with

the burden resting on [the defendant], the Court will not invalidate the rule 410 waiver and

exclude [the defendant’s] statements on this ground.” 839 F. Supp. 2d at 1185. As to the

waiver’s scope, the Court determined that, because the waiver to which the defendant stipulated

permitted the United States to “use his statements in a subsequent ‘criminal trial,’” the United

States could use the defendant’s statements in any phase of the trial. 839 F. Supp. 2d at 1186

(quoting the plea agreement).

       The Tenth Circuit concluded that the Court did not err in enforcing Jim’s 410 waiver.

United States v. Jim, 786 F.3d at 804. The Tenth Circuit stated:

       Jim’s Rule 410 waiver expressly stated that it took effect at the time he signed the
       plea agreement. And Jim does not contend that his Rule 410 waiver was not
       enforceable for the reason that the district court permitted him to withdraw his
       guilty plea. Indeed, it would make no sense to deny the efficacy of the Rule 410
       waiver just because the guilty plea was withdrawn because that would render the
       waiver largely meaningless and deprive the Government of the benefit of its
       bargain. The clearly contemplated situation where the Rule 410 waiver would
       have any usefulness to the Government is in precisely this situation -- where the
       defendant failed to carry out his side of the bargain to plead guilty and thereby
       forced the Government to trial.

786 F.3d at 809 (citations omitted). The Tenth Circuit asserted that the 410 waiver would not

bind Jim if his “entire guilty plea was not knowing and voluntary,” 786 F.3d at 809, but Jim did

not show that he entered his guilty plea and the plea agreement unknowingly or involuntarily, see

786 F.3d at 806.


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               LAW REGARDING KNOWING AND VOLUNTARY STANDARD
                              FOR GUILTY PLEAS

         A defendant’s guilty plea must be knowing and voluntary. See United States v. Libretti,

38 F.3d 523, 529 (10th Cir. 1994). To enter a plea that is knowing and voluntary, a defendant

must have “a full understanding of what the plea connotes and of its consequence.” Boykin v.

Alabama, 395 U.S.at 244.         A defendant must only understand his or her plea’s “direct

consequences.” United States v. Hurlich, 293 F.3d 1223, 1230 (10th Cir. 2002). If a guilty plea

is not knowing and voluntary, it is void, and any additional waivers in the plea agreement

generally are unenforceable. See United States v. Mitchell, 633 F.3d at 1001 (citing United

States v. Gigley, 213 F.3d 509, 516 (10th Cir. 2000)). The Tenth Circuit has had more frequent

opportunities to analyze the knowing and voluntary nature of a waiver of rights in the context of

a waiver of appellate rights. See United States v. Sandoval, 427 F. App’x 621, 623 (10th Cir.

2011)(unpublished); United States v. Vidal, 561 F.3d 1113, 1118 (10th Cir. 2009); United States

v. Wilken, 498 F.3d 1160, 1167 (10th Cir. 2007).

         The defendant in United States v. Mitchell argued that the district court’s statements that

his counsel may have exerted “undue influence” over him rendered his plea involuntary. 633

F.3d at 1001.       The Tenth Circuit held that the fact that his counsel used “colorful

language” -- telling the defendant “‘you would be a fool not to take this plea offer!!’” -- did not

approach a constitutionally suspect level of coercion. 633 F.3d at 1002. The Tenth Circuit

stated that, even when counsel’s pressure may be “palpable,” and a defendant asserted he was

“hounded, browbeaten, and yelled at,” such pressures do not “vitiate the voluntariness of his

plea.”      633 F.3d at 1002 (citing United States v. Carr, 80 F.3d 413, 417 (10th Cir.

1996)(analyzing voluntariness where counsel called the defendant “stupid” and “a f***ing

idiot”)).     The defendant in United States v. Mitchell also pointed to the breakdown in


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communication between himself and his attorney to establish that his plea was not knowing and

involuntary. See 633 F.3d at 1001. The Tenth Circuit concluded this argument was similarly

unavailing, and held that the guilty plea and accompanying plea agreement were knowing and

voluntary. See 633 F.3d at 1002.

       In the United States District Court for the District of New Mexico, if a defendant

consents to plead guilty before a United States Magistrate Judge, then the Magistrate Judge will

conduct the plea colloquy and accept the plea. See United States v. Ciapponi, 77 F.3d 1247,

1349-50 (10th Cir. 1996)). “With a defendant’s express consent, the broad residuary ‘additional

duties’ clause of the Magistrate Act, 28 U.S.C. § 636, authorizes a magistrate judge to conduct a

Rule 11 felony plea proceeding, and such does not violate the defendant’s constitutional rights.”

United States v. Ciapponi, 77 F.3d at 1251. A district judge will sentence the defendant, and

under the local rules, the “Court will defer a decision on the acceptance or rejection of the plea

agreement until the Court has reviewed the presentence report, even in instances where the Court

has accepted the guilty plea.” D.N.M.LR-Cr. 11.2.

                                           ANALYSIS

       The Court grants the Motion to Clarify and concludes that: (i) Christy’s Motion to Clarify

is ripe, because whether the rule 410 waiver is enforceable if Christy withdraws his guilty plea is

important information for Christy to make his meaningful decision; and (ii) the rule 410 waiver

will bind Christy if he withdraws his guilty plea and the United States prosecutes the Plea

Agreement’s lone child pornography charge.

I.     THE ISSUE IS RIPE, BECAUSE WHETHER THE RULE 410 WAIVER IS
       ENFORCEABLE IS A QUESTION FIT FOR JUDICIAL CONSIDERATION,
       AND THE PARTIES FACE A DIRECT AND IMMEDIATE DILEMMA.

       The Tenth Circuit applies a two-factor test to determine whether an issue is ripe:



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(i) whether the issue is fit for judicial resolution; and (ii) whether the parties’ will face hardship

if the court withholds judicial consideration. See Kansas Judicial Review v. Stout, 519 F.3d at

1116 (10th Cir. 2008).      By “fitness,” courts mean that “it does not involve uncertain or

contingent events that may not occur at all (or may not occur as anticipated).” Chavez ex rel.

M.C. v. New Mexico Pub. Educ. Dep’t, 621 F.3d 1275, 1281 (10th Cir. 2010)(citing New

Mexicans for Bill Richardson v. Gonzales, 64 F.3d 1495, 1499 (10th Cir. 1995)). By “hardship,”

courts mean “whether the challenged action is a ‘direct and immediate dilemma for the parties.’”

Chavez ex rel. M.C. v. New Mexico Pub. Educ. Dep’t, 621 F.3d at 1281 (quoting New Mexicans

for Bill Richardson v. Gonzales, 64 F.3d at 1499).

       A.      WHETHER THE RULE 410 WAIVER IS ENFORCEABLE IS A
               QUESTION FIT FOR JUDICIAL CONSIDERATION EVEN THOUGH
               CHRISTY HAS NOT YET WITHDRAWN FROM THE PLEA
               AGREEMENT BECAUSE THE COURT’S DECISION WILL HAVE
               FORCE NO MATTER WHAT CHRISTY DECIDES.

       The issue is fit for judicial consideration even though Christy has not yet withdrawn from

the plea agreement, because the question bears directly on the decision that the Court has

expressly directed Christy to make. The Court need not, and should not, wait to see if Christy

withdraws from the agreement before taking up the question, because the answer is so vital to

Christy’s decision that waiting would deprive him of any meaningful basis upon which to reach a

conclusion. It may be that the Court determines that the rule 410 waiver will remain valid should

Christy withdraw his plea, and Christy, in turn, would choose not to withdraw it. That the Court

would not have the chance to apply its rule 410 waiver decision in such a scenario does not

destroy ripeness, because courts recognize that parties need not expose themselves to the risk of

calamity just to find out if such calamity may be in store. Cf. MedImmune, Inc. v. Genentech,

Inc., 549 U.S. 118, 134 (2007)(“The rule that a plaintiff must destroy a large building, bet the



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farm, or . . . risk treble damages and the loss of 80 percent of its business before seeking a

declaration of its actively contested legal rights finds no support in Article III.”); United States v.

Wayne, 591 F.3d 1326, 1329 n.1 (10th Cir. 2010)(finding a ripe controversy in a defendant’s

appeal of a supervised relief condition, even though the defendant had not yet violated the

condition).

       The United States also warns that determining the rule 410 waiver’s validity pursuant to a

motion to clarify would allow Christy to get a pretrial evidence ruling so he can “decide whether

or not there should be a trial at all.” Tr. at 12:5-9 (Kastrin). The United States adds that “I think

every defendant would want to know what every ruling would be in deciding to take a plea offer,

but that’s not how our system works.” Tr. at 12:9-12 (Kastrin). To whatever extent the United

States warns that allowing a defendant to achieve a pretrial evidence ruling long before trial

under the guise of a motion to clarify would upset the principles underlying our criminal justice

process, that concern is misplaced. For one, the Federal Rules of Criminal Procedure constrain

only how late a pretrial motion can be brought, and not how early. See, e.g., Fed. R. Civ. P.

12(3)(b) (stating that certain “defenses, objections, and requests” must be made “before trial”).

For another, defendants are free to make motions, e.g., motions to suppress evidence, long before

trial, when a plea agreement is still possible. Now, Christy possesses the unilateral choice

whether to withdraw his plea agreement based on how the Court rules; the United States must

simply wait for Christy to decide. At first glance, that asymmetry may seem unfair and therefore

may represent an outcome that courts should not enable, but given the circumstances, it is not

only the appropriate position in which Christy should be, but it is also virtually impossible for a

defendant to abuse. Christy is not deciding whether to accept a plea offer, after all; he already

entered a plea agreement, and, thanks to the Supreme Court of New Mexico effectively



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invalidating one of his two convictions in that deal -- a development that neither Christy nor any

other defendant could ever purposefully contrive -- the Court has determined Christy must

decide whether to withdraw.

       The Court does not see how deciding the Motion to Clarify is much different from other

pretrial motions in limine it does before criminal trials. See Luce v. United States, 469 U.S. 38,

41 (1984)(“Although the Federal Rules of Evidence do not explicitly authorize in limine rulings,

the practice has developed pursuant to the district court’s inherent authority to manage the course

of trials.”). The Court often advises the parties regarding evidence admissibility: if one party

does this, then the other side gets to do that. Trial judges sometimes have to respond in the

middle of trial. In any case, district courts must decide certain motions in advance of trial, and

those ruling can determine how a defendant will proceed. See Crist v. Bretz, 437 U.S. 28, 49-50

(1978)(“Defendants may, and sometimes must . . . move for various rulings on the indictment

and the admissibility of evidence before trial. These motions, in practical terms, may decide the

defendant’s case.”). Cf. Fed. R. Crim. P. 12(b)(3)(B)(iii) (requiring defendants to make motions

alleging that the indictment lacks specificity before trial); Fed. R. Crim. P. 12(b)(3)(C) (stating

that motions to suppress evidence must be made before trial); Fed. R. Crim. P. 12(d) (“The court

must decide every pretrial motion before trial unless it finds good cause to defer a ruling.”). This

Motion for Clarification is unusual, but it fits comfortably within the scope of requests that

district courts routinely decide.

       B.      THERE IS HARDSHIP, BECAUSE CHRISTY FACES A DIRECT AND
               IMMEDIATE DILEMMA IN DECIDING WHETHER TO WITHDRAW
               FROM THE PLEA AGREEMENT.

       The second ripeness factor is whether the parties face hardship -- i.e., “whether the

challenged action is a ‘direct and immediate dilemma for the parties.’” Chavez ex rel. M.C. v.



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New Mexico Pub. Educ. Dep’t, 621 F.3d at 1281 (quoting New Mexicans for Bill Richardson v.

Gonzales, 64 F.3d at 1499). Here, the parties face a direct and immediate dilemma, because the

way the Court rules on the rule 410 waiver’s validity will profoundly impact this case’s outcome.

If the waiver is valid even if Christy withdraws, the United States would not be barred, in

prosecuting Christy for child pornography charges, from introducing Christy’s plea agreement

statements into evidence.3 With so much at stake, the Court concludes that the question over rule

410 waiver’s validity poses a direct and immediate dilemma for the parties.

II.    IF CHRISTY WITHDRAWS HIS GUILTY PLEA, THE 410 WAIVER WILL
       BIND CHRISTY IF THE UNITED STATES STANDS BY ITS PLEA
       AGREEMENT OBLIGATION TO NOT REVIVE DISMISSED CHARGES.

       In the 2255 Order, the Court gives Christy a choice to withdraw his guilty plea for his one

remaining conviction. See 2255 Order at 19-20. The Court states that, if Christy withdraws his

guilty plea, the United States may revive charges it dismissed pursuant to the plea agreement.

See 2255 Order at 16. The Court concludes that, if Christy withdraws his guilty plea, and the

United States chooses to be discharged of its Plea Agreement duties to revive the dismissed

counts, the 410 waiver will not bind Christy. If, however, Christy withdraws his guilty plea, and

the United States abides by its Plea Agreement duties and prosecutes the lone child pornography

       3
           For instance, in the Plea Agreement, Christy asserts:

       I . . . knowingly possessed a matter containing any visual depiction that had been
       shipped and transported in interstate and foreign commerce and which was
       produced suing materials which had been so shipped and transported, by any
       means, including by computer, the production of which involved the use of a
       minor engaging in sexually explicit conduct and is of such conduct. I possessed
       depictions of minors engaged in sexually explicit conduct on my Hewlett Packard
       HDX 16 16 Laptop, Serial Number CNF9241L65, with an internal Toshiba Hard
       Drive MK3255GSX, Serial Number 6981F9ZNS. I knew it was illegal for me to
       possess such images.

Plea Agreement ¶ 12, at 10.


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charge to which Christy pleaded guilty, the Plea Agreement endures, and the 410 waiver binds

Christy.4

       A.     IF CHRISTY WITHDRAWS HIS GUILTY PLEA, AND THE UNITED
              STATES CHOOSES TO BE DISCHARGED OF ITS PLEA AGREEMENT
              OBLIGATIONS, CHRISTY MAY CHOOSE TO BE DISCHARGED OF
              HIS PLEA AGREEMENT OBLIGATIONS, INCLUDING THE RULE 410
              WAIVER.

       The Court, in its 2255 Order, determined that, if Christy withdraws his guilty plea, the

United States may choose to be discharged of its plea agreement obligations, because the

purpose for which it entered the plea agreement would be frustrated. See 2255 Order at 16

(citing Bunner, 134 F.3d at 1005). The same frustration of purpose principles apply to free

Christy from his plea agreement obligations if the United States revives dismissed charges.

       The Tenth Circuit applies contract principles to plea agreement interpretation, including

the frustration-of-purpose doctrine. See Bunner, 134 F.3d at 1004 (stating that a party may be

discharged of its plea agreement obligations under the frustration-of-purpose doctrine if, for an

unforeseen reason, the benefit for which the party entered the agreement has become worthless);

       4
         For this analysis, the Court applies principles from Bunner and Benard. In Bunner, the
Tenth Circuit determined that, when a defendant’s lone conviction is vacated, the United States
may reinstate dismissed charges because the United States’ purpose for entering the plea
agreement has been frustrated. See Bunner, 134 F.3d at 1005. In Benard, the Tenth Circuit
determined that, where the district court erred in denying the defendant’s motion to suppress
evidence for one of two charges to which the defendant pled guilty, the defendant may withdraw
his guilty pleas for both convictions, because a defendant’s decision to enter a multi-count plea
agreement depends on the “aggregate strength of the incriminating evidence” for all charges
against him or her. Benard, 680 F.3d at 1214-15 (quoting People v. Miller, 658 P.2d 1320, 1326
(Cal. 1983)). Synthesizing these holdings, the Court determines that, where a defendant pleads
guilty to two charges, and one conviction is vacated, the defendant may withdraw his guilty plea
to the other, non-vacated conviction, because the defendant’s decision to enter the plea
agreement “was not made in a vacuum independent of evidence” for the other count, see Benard,
680 F.3d at 1214-15; if the defendant withdraws his guilty plea, the United States may reinstate
charges it dismissed pursuant to the plea agreement, because the United States’ purpose for
entering the plea agreement is frustrated, see Bunner, 134 F.3d at 1005. Determining whether
Christy may discharge his 410 waiver obligation depends on whether the United States has
frustrated the purpose for which Christy entered the Plea Agreement.

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Restatement (Second) of Contracts § 265 (1981)(“Where . . . a party’s principal purpose is

substantially frustrated without his fault by the occurrence of an event the non-occurrence of

which was a basic assumption on which the contract was made, his remaining duties to render

performance are discharged.”). In Bunner, the defendant faced multiple counts and pled guilty to

one. See Bunner, 134 F.3d at 1002. Later, the Supreme Court of the United States determined

that the factual basis for the conviction was not actually a crime. See Bunner, 134 F.3d at 1005

(“Subsequent to entering the agreement, an intervening change in the law destroyed the factual

basis supporting Defendant's conviction.”); id. at 1002 (“After Defendant served approximately

three years, the Supreme Court decided . . . [that] Defendant's actions no longer constituted a

§ 924(c) violation.” (citing Bailey v. United States, 516 U.S. 137 (1995)). When the United

States subsequently prosecuted the defendant on other charges, the defendant entered a

conditional guilty plea and appealed, challenging the United States’ right to revive counts it

dismissed pursuant to the original plea agreement. See Bunner, 134 F.3d at 1005. The Tenth

Circuit stated:

       For a party’s contractual obligations to be discharged under the frustration of
       purpose doctrine, several elements must be present. First, the frustrated purpose
       must have been “so completely the basis of the contract that, as both parties
       understand, without it the transaction would make little sense.” Restatement 2d
       Contracts § 265 cmt. a. Second, the frustration must be such that the intervening
       event cannot fairly be regarded as within the risks the frustrated party assumed
       under the contract. Id. Finally, “the non-occurrence of the frustrating event must
       have been a basic assumption on which the contract was made.” Id.

Bunner, 134 F.3d at 1004. The Tenth Circuit determined:

       Defendant and the government entered the plea agreement to avoid the
       uncertainty of a jury verdict [and] subvert the risk that a jury would convict him
       on all four counts with which he was charged. The government . . . entered the
       agreement to ensure that Defendant served time for violating § 924(c). A basic
       assumption underlying the parties’ purposes was their belief that the conduct
       Defendant pled guilty to amounted to a violation of § 924(c). Absent this
       assumption, neither party would have entered into the . . . plea agreement.


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       Subsequent to entering the agreement, an intervening change in the law destroyed
       the factual basis supporting Defendant’s conviction.

Bunner, 134 F.3d at 1004-05. The Tenth Circuit concluded:

       The district court’s decision [to grant the § 2255 motion] ultimately resulted in
       Defendant being relieved of his obligations under the plea agreement. Therefore,
       although the parties were technically able to perform according to the letter of the
       agreement, Defendant’s performance, for all practical purposes, became worthless
       to the government. This resulted in the underlying purpose of the agreement
       being frustrated and the basis of the government’s bargain being destroyed. Thus,
       under the frustration of purpose doctrine, the government’s plea agreement
       obligations became dischargeable.

134 F.3d at 1005.     The United States was, therefore, free to revive the charges which it

dismissed. See 134 F.3d at 1005.

       Christy withdrawing his plea would produce a similar result. The United States entered

the plea agreement to secure Christy’s guilty pleas on both counts.         With one conviction

discharged and the other withdrawn, the United States’ purpose would be frustrated, and the

United States could, therefore, be discharged of its plea agreement obligations, including its

promise to not revive dismissed charges. See Plea Agreement ¶ 23(b), at 15 (stating that the

United States agrees to “not bring additional criminal charges against the Defendant arising out

of the facts forming the basis of the present information”).

       The frustration-of-purpose analysis would not end there, however. The United States

reviving the dismissed charges would destroy the basis for which Christy entered the plea

agreement.   See Bunner, 134 F.3d at 1004 (“[T]he frustrated purpose must have been ‘so

completely the basis of the contract that, as both parties understand, without it the transaction

would make little sense.’” (quoting Restatement 2d Contracts § 265 cmt. a)). Christy entered the

plea agreement to manage his criminal liability by precluding additional charges. See Bunner,

134 F.3d at 1004 (“Defendant . . . entered the Plea Agreement to avoid the uncertainty of a jury

verdict [and] subvert the risk that a jury would convict him on all four counts with which he was

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charged.”). If the United States is free to revive charges it dismissed pursuant to the Plea

Agreement, the purpose for which Christy entered the Plea Agreement would be destroyed. Just

as Christy’s plea withdraw would permit the United States to be discharged of its plea agreement

duties, the United States reviving dismissed charges would permit Christy to be discharged of his

plea agreement duties -- namely, his duty to honor the rule 410 waiver. See Plea Agreement

¶ 12(b), at 11.

        The United States argues that, if Christy withdraws his guilty plea, the Court should still

enforce the rule 410 waiver, because that waiver exists precisely for instances where a defendant

enters a plea agreement, but does not follow through on his or her promise to plead guilty to

certain charges. See Response at 7-8. Essentially, the United States argues that Christy’s

situation is no different than the defendant’s situation in United States v. Jim, in which the Court

enforced a plea agreement’s 410 waiver applied after Jim withdrew his guilty plea. See United

States v. Jim, 839 F. Supp. 2d at 1180. United States v. Jim is distinguishable. In that case, the

Court allowed Jim to withdraw his guilty plea pursuant to rule 11(d)(2)(B) of the federal rules of

civil procedure. See United States v. Jim, 2011 WL 6013093, at *9. The Court later determined

that the plea agreement’s 410 waiver remained valid despite the plea’s withdrawal, because Jim

could not meet his burden to show that he entered the plea agreement unknowingly and

involuntarily. See United States v. Jim, 839 F. Supp. 2d at 1180. The Tenth Circuit affirmed the

Court’s decision, explaining:

        Jim does not contend that his Rule 410 waiver was not enforceable for the reason
        that the district court permitted him to withdraw his guilty plea. Indeed, it would
        make no sense to deny the efficacy of the Rule 410 waiver just because the guilty
        plea was withdrawn because that would render the waiver largely meaningless
        and deprive the Government of the benefit of its bargain. The clearly
        contemplated situation where the Rule 410 waiver would have any usefulness to
        the Government is in precisely this situation -- where the defendant failed to carry
        out his side of the bargain to plead guilty and thereby forced the Government to


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       trial.

United States v. Jim, 786 F.3d at 809. In other words, Jim entered a plea agreement in which he

agreed to plead guilty to certain counts, and he later decided he wished to withdraw that plea,

because, he argued, he did not fully understand the plea agreement’s implications when he

agreed to it. See United States v. Jim, 2011 WL 6013093, at *9.

       By contrast, in this case, Christy pled guilty to two charges; subsequent developments in

law demonstrate that Christy’s actions do not support one of the two convictions; and the Court

granted his § 2255 motion to vacate that conviction. See 2255 Order at 14. Although the 2255

Order vacates only one of Christy’s two convictions in the plea agreement, the Court recognizes

that defendants’ decisions to enter plea agreements are “not made in a vacuum” and are based on

the “‘aggregate strength of all the incriminating evidence’ against the defendant.” 2255 Order

(quoting Benard, 680 F.3d at 1214). Rather than resentencing Christy on the one surviving

conviction, the Court gives Christy the option -- the same option that the Tenth Circuit gave the

defendant in Benard, see 680 F.3d at 1214 -- to withdraw his guilty plea. See 2255 Order at 21.

It is difficult for the Court to imagine that this situation is one that Christy and the United States

“clearly contemplated” when they entered the Plea Agreement. Response at 9 (arguing that, if

Christy withdraws his guilty plea, he creates a situation that he and the United States “clearly

contemplated” when entering into their Plea Agreement (quoting United States v. Jim, 786 F.3d

at 809)).

       B.       IF CHRISTY WITHDRAWS HIS GUILTY PLEA, AND THE UNITED
                STATES PURSUES THE CHILD PORNOGRAPHY CHARGE, THE 410
                WAIVER WILL BIND CHRISTY.

       The Court previously determined that, if Christy elects to withdraw his guilty plea, the

United States may choose either to prosecute the plea agreement’s single child pornography

charge, or to reinstate indictment charges. See PFRD at 24; 2255 Order at 20. If the United

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States then chooses to stand by the plea agreement and prosecute the single child pornography

charge to which Christy previously pled guilty, then the 410 waiver will bind Christy, because

the purpose for which Christy entered the plea agreement will not be frustrated, and he may not

be discharged of that obligation.

       IT IS ORDERED that Defendant’s Motion to Clarify Order Allowing Mr. Christy to

Withdraw his Plea to Child Pornography Charge, filed June 15, 2017 (Doc. 308), is granted. The

rule 410 waiver will bind Christy if he withdraws his guilty plea and the United States prosecutes

the Plea Agreement’s lone child pornography charge.



                                                         ________________________________
                                                         UNITED STATES DISTRICT JUDGE

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